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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW HAMPSHIRE
                                 )
LIBERTARIAN PARTY OF             )
NEW HAMPSHIRE,                   )
                                 )
       and                       )
                                 )
JO JORGENSON                     )
                                 )
       and                       )
                                 )
SPIKE COHEN,                     )
                                 )
       and                       )
                                 )
DARRYL PERRY,                    )
                                 )
       and                       )
                                 )
JUSTIN O’DONNELL                 )
                                 )
       and                       )
                                 )
ZACK DUMONT                      )
                                 )
       and                       )
                                 )
ANDREW OLDING,                   )
     Plaintiffs,                 )
                                 )
       v.                        )           Civil Case No.: 1:20-cv-00688
                                 )
GOVERNOR CHRISTOPHER T.          )
                 SUNUNU          )
In his official capacity as      )
Governor of the                  )
State of New Hampshire           )
                                 )
       and                       )
                                 )
WILLIAM GARDNER,                 )
in his official capacity as      )
Secretary of State of the        )
State of New Hampshire,          )
        Defendant                )
                                 )



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                            WITNESS AND EXHIBIT LIST




      NOW COME the Plaintiffs, by and through their attorneys, Backus, Meyer &

Branch, LLP, and state the following Witness and Exhibit List:

   A. Witness List:

      1. Jilletta Jarvis

      2. Justin O’Donnell

      3. Darryl Perry

   B. Exhibit List:

      1. Sample nomination petition.

      2. The final report of the Select Committee on 2020 Emergency Election

          Support.

      3. Somersworth Police Department log for 7/11/2020.

      4. New Hampshire Executive Order 2020-04.

      5. New Hampshire Executive Order 2020-05.

      6. New Hampshire Executive Order 2020-08

      7. . New Hampshire Executive Order 2020-09

      8. New Hampshire Executive Order 2020-10.

      9. New Hampshire Executive Order 2020-14.

      10. Emergency Order #2.

      11. Emergency Order #16.

      12. Emergency Order #17.

      13. Emergency Order #40.

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         14. Emergency Order #49.

         15. Emergency Order #52.

         16. Libertarian Party letter to Secretary Gardner and cover email from Brian

            Shields.

         17. Darryl Perry, Petition for Redress to the Governor.

         18. April 30th email from Jilletta Jarvis to John Formella, Governor’s Counsel.




                                                         Respectfully submitted,


                                                         Libertarian Party of
                                                          New Hampshire

                                                         By It’s attorneys,

                                                         Backus, Meyer & Branch, LLP

Dated:         7/17/20                            By:          /s/ Jon Meyer
                                                         Jon Meyer, NH Bar # 1744
                                                         116 Lowell Street, P.O. Box 516
                                                         Manchester, NH 03105-0516
                                                         603-668-7272
                                                         jmeyer@backusmeyer.com



                                CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing has been delivered electronically, via
ECF/NexGen, this 17th day of July, 2020 to all counsel of record.

                                                   /s/ Jon Meyer
                                                   Jon Meyer



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